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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

ANTONIA DOUGLASS and
ELIZABETH EVERETT,

                   Plaintiffs,
v.                                           Case No. 2:20-cv-02076-KHV-GEB
GARDEN CITY COMMUNITY COLLEGE,
HERBERT J. SWENDER, RODNEY
DOZIER, MERILYN DOUGLASS, BLAKE
WASINGER, JEFF CRIST, STEVE
MARTINEZ, and TERI WORF, Trustees of
Garden City Community College, in their
official capacities,

And

BRICE KNAPP, and FREDDIE STRAWDER,
and GARDEN CITY, KANSAS, through its
POLICE DEPARTMENT,

                   Defendants.


                   GARDEN CITY COMMUNITY COLLEGE DEFENDANTS’
                     MOTION FOR SUMMARY JUDGMENT AGAINST
                           PLAINTIFF ANTONIA DOUGLASS

         Defendants, Garden City Community College, (“GCCC”), Herb Swender, Merilyn

Douglass, Blake Wasinger, Jeff Crist, Steve Martinez, Teri Worf, Brice Knapp, and Rodney

Dozier (jointly “Defendants” or “GCCC Defendants”), move for Summary Judgment on all

claims asserted against the GCCC Defendants by Plaintiff Antonia Douglass pursuant to

Federal Rule of Civil Procedure 56.




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         The GCCC Defendants simultaneously file a Memorandum in Support of the Motion

for Summary Judgment.

                                            /s/ Jeremy K. Schrag
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                                            and

                                            /s/ Ronald P. Pope (w/consent)
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                                            Attorney for Herbert Swender


                               CERTIFICATE OF SERVICE

         I hereby certify that on September 16, 2022, the above Motion for Summary Judgment

was filed using the court’s CM/ECF system which sent notice to all counsel of record.

                                           /s/ Jeremy K. Schrag
                                           Jeremy K. Schrag




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